           Case 1:23-cv-05875-JGK-VF         Document 40       Filed 10/25/23   Page 1 of 1
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

D . G. SWEIGERT,

                                  Plaintiff,                         23-cv-5875 (JGK) (VF)
                                                                     23-cv-6881 (JGK) (VF)
      - against -                                                     ORDER OF REFERENCE
                                                                    TO A MAGISTRATE JUDGE
JASON GOODMAN, ET AL . ,

                                  Defendants.


JOHN G. KOELTL, District Judge :

    The above entitled action is referred to the designated
Magistrate Judge for the following purpose(s) :

 X    General Pretrial (includes                          Consent under 28 U. S . C .
scheduling , discovery , non -                       §636(c) for all purposes
dispositive pretrial motions , and                   (including trial)
settlement)

      Motion/Dispute : *                                    Consent under 28 U.S. C .
                                                     §636(c) for limited purpose
                                                     (e.g . , dispositive motion,
                                                     preliminary injunction)
      If referral is for discovery
      disputes when the District                              Purpose :
      Judge is unavailable, the time
      period of the referral is :                             Habeas Corpus


                                                              Social Security

      Settlement*
                                                          Dispositive Motion (i . e .,
                                                     motion requiring a Report and
       Inquest After Default/Damages                 Recommendation)
            Hearing
                                                                 Particular Motion :

                                                                 All such motions :
SO ORDERED.

New York, New York
October 25, 2023

                                                        United States District Judge

* Do n o t check if already referred for general pretrial .
